APPEAL TRANSMITTAL SHEET (non-death penalty)

Transmittal to 4CCA of notice of District:

appeal filed: _03/14/16

ve First NOA in Case Division:

____ Subsequent NOA-same party

Eastern District of North Carolina

Western Division (Raleigh)

District Case No.:
5:15-CV-156-D
4CCA No(s). for any prior NOA:

____ Subsequent NOA-new party Caption: 4CCA Case Manager:
___ Subsequent NOA-cross appeal Resign Wake Citizens Association,

___ PaperROA ___ Paper Supp. V.

Vols: Barefoot, et al

Other: __

Exceptional Circumstances: ___ Bail ___Interlocutory ____ Recalcitrant Witness Other

Confinement-Criminal Case: Fee Status:
___ Death row-use DP Transmittal
____ Recalcitrant witness Criminal Cases:
___ Incustody
___ On bond

____ On probation

Defendant Address-Criminal Case:

District Judge: PLRA Cases:

Honorable James C. Dever Ill

Court Reporter (list all):

____ No fee required (USA appeal)

vo Appeal fees paid in full ____ Fee not paid

____ District court granted & did not revoke CJA status (continues on appeal)

____ District court granted CJA & later revoked status (must pay fee or apply to 4CCA)
___ District court never granted CJA status (must pay fee or apply to 4CCA)

Civil, Habeas & 2255 Cases:

____ Court granted & did not revoke IFP status (continues on appeal)

____ Court granted IFP & later revoked status (must pay fee or apply to 4CCA)

____ Court never granted IFP status (must pay fee or apply to 4CCA)

____ Proceeded PLRA in district court, no 3-strike determination (must apply to 4CCA)
____ Proceeded PLRA in district court, determined to be 3-striker (must apply to 4CCA)

Joseph Spontarelli
David Collier

Docket under seal

Coordinator: Shannon Proctor

Sealed Status (check all that apply):
Portions of record under seal
Entire record under seal

Party names under seal

Record Status for Pro Se Appeals (check any applicable):
____ Assembled electronic record transmitted

____ Additional sealed record emailed to 4cca-filing

____ Paper record or supplement shipped to 4CCA

____ No in-court hearings held

___ In-court hearings held — all transcript on file

____ In-court hearings held — all transcript not on file

____ Other:

Record Status for Counseled Appeals (check any applicable):
vv Assembled electronic record available if requested

____ Additional sealed record available if requested

____ Paper record or supplement available if requested

____ No in-court hearings held
_f_In-court hearings held — all transcript on file

___ In-court hearings held — all transcript not on file

____ Other:

Deputy Clerk; Susan Tripp _ Phone 252-638-7507

01/2012

Date: 03/15/16

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